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IN THE UNITED STATES DISTRICT COURT (sini corn

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FOR THE NORTHERN DISTRICT OF my NORHE RN DISTRI EOL ELXAS

 

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ABILENE DIVISION

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NELDA MARIE THOMAS, | ar

(SPN # 57060-177)
Movant,

VS. Crim No. 1:18-cr-00033-C-1

UNITED STATES OF AMERICA,

 

Respondent.

MOTION FOR COMPASSIONATE RELEASE/REDUCTION IN
SENTENCE PURSUANT TO 18 U.S.C. § 3582(C)(1)(A) AND THE FIRST
STEP ACT OF 2018

 

COMES Movant, NELDA MARIE THOMAS (“Thomas”), appearing pro se,

and in support of this motion would show as follows:
I. JURISDICTION

The district court’s jurisdiction to correct or modify a defendant’s sentence is
limited to those specific circumstances enumerated by Congress in 18 U.S.C. § 3582.
The scope of a proceeding under 18 U.S.C. § 3582(c)(2) in cases like this one is
extremely limited. Dillon v. United States, 130 S.Ct. 2683, 2687(2010). It is
black-letter law that a federal court generally “may not modify a term of
imprisonment once it has been imposed.” Jd. However, Congress has allowed an

exception to that rule “in the case of a defendant who has been sentenced to a term
 

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of imprisonment based on a sentencing range that has subsequently been lowered by
the Sentencing Commission.” 18 U.S.C. § 3582(c)(2); see also, Freeman v. United
States, 131 S.Ct. 2685 (2011) (reciting standard for sentence modifications). Such
defendants are entitled to move for retroactive modification of their sentences. Dillon,
130 S.Ct. at 2690-91.

Il. PROCEDURAL HISTORY

 

A. Procedural Background

On April 11, 2018, a grand jury sitting in the United States District Court for
the Northern District of Texas, Abilene Division, returned a two (2) Count Indictment
charging Thomas. See Doc. 3.' Count 1 charged Thomas with Conspiracy to
Distribute and Possess with Intent to Distribute 50 Grams or More of
Methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B)(viii). Jd.
Count 2 charged Thomas with Distribution and Possession with Intent to Distribute
Methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C). Jd.

On May 29, 2018, a Re-arraignment Hearing was held and Thomas entered a
plea of guilty on Count | of the Indictment, pursuant to a written Plea Agreement. See

Docs. 16, 20.

 

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“Doc.” refers to the Docket Report in the United States District Court for the Northern
District of Texas, Abilene Division, in Criminal No. 1:18-cr-00033-C-1, which is followed by the
Docket Entry Number.

 
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On September 21, 2018, Thomas was sentenced to a term of 135 months’
imprisonment, 4 years Supervised Release, no Fine or Restitution, and a Mandatory
Special Assessment Fee of $100. See Docs. 30, 31.

B. Statement of the Facts

l. Offense Conduct

The factual background set forth below is based on the Stipulated Facts in this

case:

Nelda Marie Thomas admits and agrees that beginning on or about a
date unknown to the grand jury and continuing to on or about April 11,
2018, within the Northern District of Texas, Abilene Division, and
elsewhere, she knowingly and willfully combined, conspired,
confederated, and agreed with persons known and unknown to distribute
and possess with intent to distribute 50 grams and more, but less than
500 grams, of a mixture and substance containing a detectable amount
of methamphetamine, a Schedule II controlled substance.

On November 29, 2017, law enforcement agents interviewed Nelda
Marie Thomas. During that interview, Thomas admitted to distributing
methamphetamine in the Abilene, Texas, area for the past several years.
Thomas stated that she obtained one to two ounces of methamphetamine
every day for two to three months from Stacy Payne Watkins
(prosecuted in a separate federal case). Thomas also indicated that she
had purchased 1/4 of an ounce methamphetamine from Watkins’ son
approximately 12 times in the recent months.

Thomas’ confession was corroborated by interviews with several other
individuals who acknowledged receiving methamphetamine from
Thomas during the time frame of the conspiracy.
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On January 22, 2018, a confidential informant purchased 26.7 grams of
methamphetamine for $600.00 from Nelda Thomas at her residence
located at 2266 Minter Lane, Abilene, Texas.

Thomas admits that she, Watkins, and Watkins’ son, directly or

indirectly, reached an agreement to distribute or to possess with the

intent to distribute a mixture or substance containing a detectable

amount of methamphetamine, a Schedule II controlled substance.

Thomas admits that she knew of the unlawful purpose of the agreement

and that she joined in the agreement willfully, that is, with the intent to

further the unlawful purpose. Thomas admits that the overall scope of

the conspiracy involved 50 grams or more, but less than 500 grams, of

a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance.
See Doc. 5 at 2-3.

2. Plea Proceeding

On May 29, 2018, a Re-arraignment Hearing was held before Magistrate Judge
E. Scott Frost. See Doc. 20. Thomas pled guilty on Count 1 of the Indictment,
pursuant to a written Plea Agreement. See Docs. 16. In exchange for Thomas’ guilty
plea, the government agreed to the following: (1) not to bring additional charges
against Thomas based upon the conduct underlying and related to Thomas’ plea of
guilty; (2) move to dismiss, after sentencing, any remaining charges in the pending
indictment. /d. at 4.

5s Sentencing Proceeding

On September 21, 2018, a Sentencing Hearing was held before Senior Judge

Sam R. Cummings. See Doc. 30.Thomas was sentenced to a term of 135 months’

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imprisonment as to Count | to run concurrent to any sentence imposed in Case No.
9114-P pending in the 104" District Court, Taylor County, Texas. See Doc.
31;followed by 4 years of Supervised Release; and the Court ordered payment of a
Mandatory Special Assessment Fee of $100. Jd. No direct appeal was filed in this
case.
Ill. DISCUSSION

As a preliminary matter, Thomas respectfully requests that the Court be
mindful that “a pro se complaint should be given liberal construction, we mean that
if the essence of an allegation is discernible ... then the district court should construe

the complaint in a way that permits the layperson’s claim to be considered within the

2014) (“Pro se pleadings are held to a less stringent standard than pleadings drafted
by attorneys and will, therefore, be liberally construed.”); Estelle v. Gamble, 429 U.S.

97 (1976) (same); and Haines v. Kerner, 404 U.S. 519 (1972) (same).

A. Compassionate Release/Reduction in Sentence Pursuant to 18
U.S.C. §§ 3582(c)(1)(A) and 4205(g)

proper legal framework.” See Campbell v. Air Jamaica Ltd., 760 F.3d 1165 (11" Cir.
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Congress authorized compassionate release in the Sentencing Reform Act of

1984. It allows federally incarcerated people to appeal for early release if they present

certain “extraordinary and compelling” reasons. Upon approval of the request, Bureau

 
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of Prisons (“BOP”) makes a motion to a federal judge for a sentence reduction. The
Commission sets the “extraordinary and compelling” criteria, which include, but are
not limited to, age and terminal illness. The program essentially allows BOP to seek
the release of certain elderly and terminally ill inmates, as well as those with special
family circumstances, before the end of their prison sentences rather than keep those
inmates in prison when they are no longer a significant risk to the community and
when they are draining away substantial and valuable BOP resources.

Congress gave the Commission the authority to determine the conditions by
which an individual in federal prison could be released for “extraordinary and
compelling reasons.” It authorized federal courts to reduce a defendant’s sentence if
that individual meets the criteria set by the Commission. And Congress gave BOP the
administrative task of filing motions in federal court if the defendant meets the
Commission’s criteria for compassionate release.

B. Compassionate Release Under The First Step Act

The First Step Act (“the Act”) made important changes to how federal
compassionate release works. It changes and expands the compassionate release
eligibility criteria; ensures the prisoners have the right to appeal the BOP’s denial or

neglect of the prisoner’s request for a compassionate release directly to court; and

provides other important features, such as notification, assistance, and visitation rules.

 
 

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1. Compassionate Release Objective Criteria Under the First Step
Act

The criteria for determining whether a prisoner has an “extraordinary and
compelling reason” for a sentence reduction are sometimes broader under the
Sentencing Guidelines than under the BOP Program Statement. Prisoners seeking
compassionate release and/or filing motions should consult USSG § 1B1.13, in
addition to the BOP Program Statement 5050.50 for guidance on what reasons are
considered by courts to be “extraordinary and compelling.” The differences are
outline below.

° Terminal Medical Condition:

Oo The prisoner has been diagnosed with a terminal, incurable
disease with a life expectancy of 18 months; or

O The prisoner has a disease or condition with an end-of-life
trajectory, meaning that the disease or condition will lead to
death. A specific prediction of time left to live is not necessary.

° Debilitated Medical Condition:

O BOP: The prisoner has an incurable, progressive illness or has
suffered a debilitating injury without hope of recovery. BOP will
consider a compassionate release if the prisoner is
- Completely disabled so they cannot carry on any self-care

and is totally confined to a bed or chair; or
- Able to do only limited self-care and is confined for 50
percent of waking hours to a bed or chair.

 
 

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O Sentencing Commission: The prisoner’s ability to provide
self-care in the prison is substantially diminished and recovery is
not expected because the prisoner is
- Suffering from a serious physical or medical condition;

- Suffering from a serious functional or cognitive
impairment; or

- Experiencing deteriorating physical or mental health due to
age.

° New Law Elderly Prisoners are those sentenced for an offense that
occurred after November 1, 1987, who are

O 70 years old or older; and
O Have served 30 years of the sentence.

° Elderly Prisoners (with Medical Conditions)

0 BOP

- 65 years old or older;

- Suffer from chronic or serious medical condition related to
age;

- Are experiencing deteriorating physical or mental health
that substantially diminishes their ability to function in
prison;

- Conventional treatment promises no __ substantial
improvement; and

- Have served at least 50 percent of their sentence.

Oo Sentencing Commission

- 65 years old;

- Are experiencing serious physical or mental health
deterioration due to age; and

- Have served at least the lesser of 10 years or 75 percent of
their sentence.
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° Other Elderly Prisoners (BOP only)

 

0 65 years old or older; and
) Have served the greater of 10 years of 75 percent of their
sentence.
° Family Circumstances
Oo Death or incapacitation of the family member or caregiver of the

prisoner’s minor children (BOP adds that to be eligible, the
prisoner must be the only family member capable of caring for the
children); or

oO Incapacitation of the prisoner’s spouse or registered partner
° BOP: “Incapacitation” means the spouse or partner has
- Suffered a serious injury or debilitating illness and
is completely disabled so as to be unable to carry on
any selfcare and is totally confined to a bed or chair;

 

or
- Has severe cognitive defect such as Alzheimer’s.
° BOP: The prisoner must be the only available family
caregiver.
2. Requests Based on Family Circumstances —Incapacitation
of the Prisoner’s Husband Due to Life Threatening Health

 

Issue
In this case, Thomas requests for Reduction in Sentence (“RIS”) because her
husband, James L. Thomas, has been diagnosed with stage 4 liver disease— Cirrhosis
and history of Benign prostatic hyperplasia (BPH), history of Insomnia, history of
Hypertension, and history of Chronic obstructive pulmonary disease (COPD). James

has had multiple falls due to intermittent left lower extremity weakness. In 2019,
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James was also diagnosed with acute decompensated chronic systolic and diastolic
congestive heart failure, urinary detention, chronic pain, diabetes mellitus type 2,
history of chronic hepatitis C virus, debility, and history of brainstem injury. See
Exhibit 1. Thomas is James’ primary and only available caregiver, meaning there is
no other family member or adequate care option that is able to provide primary care
for the husband.

Facts:

Cirrhosis. Cirrhosis is a complication of many liver diseases characterized by
abnormal structure and function of the liver. The diseases that lead to cirrhosis
do so because they injure and kill liver cells, after which the inflammation and
repair that is associated with the dying liver cells cause scar tissue to form. The
liver cells that do not die multiply in an attempt to replace the cells that have
died. This results in clusters of newly-formed liver cells (regenerative nodules)
within the scar tissue. There are many causes of cirrhosis including chemicals
(such as alcohol, fat, and certain medications), viruses, toxic metals (such as
iron and copper that accumulate in the liver as a result of genetic diseases), and
autoimmune liver disease in which the body's immune system attacks the liver.

Stage 4 cirrhosis can be life threatening and people have develop end-stage
liver disease (ESLD), which is fatal without a transplant.

Stage 4: Liver failure

Your liver has lost all ability to function and unable to heal. Liver failure can
be a chronic or acute condition. Acute liver failure strikes fast just in 48 hours
as a reaction to poison or a drug overdose. While chronic liver failure
developed from cirrhosis may have been going on for years. When you have
liver failure, your best option might be a liver transplant.

As liver failure gets worse, it can affect you mentally and physically. You may
feel confused and disoriented. You may experience diarrhea, loss of appetite

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and lose weight rapidly. Because these symptoms can be caused by many other
conditions, it is hard to diagnose liver failure just from a physical exam.

When you get the diagnosis for liver failure, you will immediately get medical
attention to salvage what is left of your liver. If this is not possible, the only
option may be a liver transplant.

It is important to have your health checked regularly, as liver disease can be
detected during the inflammation stage or fibrosis stages through an ultrasound
or X-ray of your stomach. If you are treated successfully at these stages, your
liver may have a chance to heal itself and recover.

Chronic Obstructive Pulmonary Disease. Chronic obstructive pulmonary
disease, commonly referred to as COPD, is a group of progressive lung
diseases. The most common are emphysema and chronic bronchitis. Many
people with COPD have both of these conditions.

Emphysema slowly destroys air sacs in your lungs, which interferes with
outward air flow. Bronchitis causes inflammation and narrowing of the
bronchial tubes, which allows mucus to build up.

There’s no cure for COPD, but treatment can help ease symptoms, lower the
chance of complications, and generally improve quality of life. Medications,
supplemental oxygen therapy, and surgery are some forms of treatment.
Untreated, COPD can lead to a faster progression of disease, heart problems,
and worsening respiratory infections.

Hypertension. Hypertension is another name for high blood pressure. It can
lead to severe health complications and increase the risk of heart disease,
stroke, and sometimes death.

Blood pressure is the force that a person’s blood exerts against the walls of
their blood vessels. This pressure depends on the resistance of the blood
vessels and how hard the heart has to work.

Hypertension is a primary risk factor for cardiovascular disease, including
stroke, heart attack, heart failure, and aneurysm. Keeping blood pressure under
control is vital for preserving health and reducing the risk of these dangerous
conditions.

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Diabetes. Diabetes is a serious condition that causes higher than normal blood
sugar levels. Diabetes occurs when your body cannot make or effectively use
its own insulin, a hormone made by special cells in the pancreas called islets
(eye-lets). Insulin serves as a “key” to open your cells, to allow the sugar
(glucose) from the food you eat to enter. Then, your body uses that glucose for
energy.

But with diabetes, several major things can go wrong to cause diabetes. Type
1 and type 2 diabetes are the most common forms of the disease, but there are
also other kinds, such as gestational diabetes, which occurs during pregnancy,
as well as other forms.

3. The First Step Act Gives Prisoners the Right to Go to
Court

 

The most significant change to compassionate release is that the Act provides

 

prisoners the power to file a motion for compassionate release if they can demonstrate
they have tried and failed to convince the BOP to do so for them. Before passage of
the First Step Act a denial by the BOP was not appealable.

Prisoners now have the right to file a motion under 18 U.S.C. §

3582(c)(1)(A)(i) directly with the court under certain circumstances:

° Prisoners may file a motion after the earlier of
0 having “fully exhausted all administrative rights to appeal a
failure of the BOP to bring a motion. . .” or
0 30 days after the date the warden received a request for

compassionate release from the prisoner.

° A prisoner exhausts administrative rights when one of two things
happens:
O The Central Office of the BOP rejects awarden’s
recommendation that the BOP file a compassionate release
motion, or

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0 The warden refuses to recommend the BOP file a compassionate
release motion and the prisoner appeals the denial using the
BOP’s Administrative Remedy Program.

4. Thomas is Eligible for a Reduced Sentence

In this case, Thomas’ husband, James L. Thomas, age 67, and have the
aforementioned chronic health conditions that requires full-time assistance.

Because of the urgency imposed by such unforseen event — incapacitation of
James, it is important that the sentencing court decides instantaneously whether to
reduce Thomas’ sentence after considering the factors in section 3553(a) and if it
finds that “extraordinary and compelling reasons” warrant a reduction.

Thomas, currently housed at the Carswell Federal Medical Center, in Fort
Worth, Texas (“FMC Carswell’). She has no violent prior convictions and the instant
offense was merely for drug conspiracy and distribution. Accordingly, Thomas is not
a threat to society. Because of the relatively limited risk of recidivism and the
relatively limited potential danger to the community of her release, she was sentenced
to 135 months’ imprisonment, and her projected release is on November 11, 2027.
Since her incarceration, on April 12, 2018, Thomas has completed several courses in
the BOP. See Exhibit 2. On top of all the skills she learned in prison, Thomas

currently work for UNICA as a licensed operator of General Industry and

Construction equipment. See Exhibit 3. Hence, Thomas is well capable of working

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to support and provide for herself and her husband. It is imperative that Thomas cares
for her chronically ill husband, who has supported her all throughout their married
life.

No aspect of Thomas’ offense involved violence. Since she was incarcerated,
Thomas had no disciplinary infractions at all. Thomas does not have ties to
large-scale criminal organizations, gangs, or cartels. Therefore, Thomas qualifies
under the limited circumstances that authorize such a motion, and because of the
relatively limited risk of recidivism and the relatively limited potential danger to the

community of her release.

Ill. UNDER THE FIRST STEP ACT, THIS COURT HAS BROAD
AUTHORITY TO DETERMINE WHETHER EXTRAORDINARY AND
COMPELLING CIRCUMSTANCES EXIST TO MODIFY THOMAS’
SENTENCE AND RELEASE HER TO HOME CONFINEMENT.

The First Step Act (“FSA”) expressly permits Thomas to move this Court to
reduce her term of imprisonment and seek compassionate release. See 18 U.S.C. §
3583(c)(1)(A)(i). Under normal circumstances, a defendant can seek recourse through
the courts after either (1) the BOP declines to file such a motion on his behalf; or (2)
there has been of lapse of 30 days from the warden’s receipt of the defendant’s
request, whichever is earlier. Jd. Although Thomas has not filed a request to the BOP

yet, Thomas files this motion now in light of the urgent nature of this matter. See

discussion, infra Part III. A.

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After exhausting the administrative process, “a court may then ‘reduce the term
of imprisonment’ after finding that ‘extraordinary and compelling reasons warrant
sucha reduction’ and ‘such a reduction is consistent with applicable policy statements
issued by the Sentencing Commission.”” United States v. Ebbers, 2020 WL 91399,
at *4, 02-CR-1144 (VEC) (S.D.N.Y. Jan. 8, 2020), ECF No. 384. “In making its
decision, a court must also consider “the [sentencing] factors set forth in section
3553(a) to the extent that they are applicable.” Jd. (quoting 18 U.S.C. §
3582(c)(1)(A)).

While courts have noted that the Sentencing Commission’s applicable policy
statement on what constitutes “extraordinary and compelling reasons” to warrant a
sentence reduction is anachronistic because it has not been updated since passage of
the FSA, they still continue to be guided by the Sentencing Commission’s
descriptions of “extraordinary and compelling reason.” See, e.g., Ebbers, 2020 WL
91399, at *4 (S.D.N.Y. Jan. 8, 2020). However, the Sentencing Commission’s
statements do not constrain the court’s independent assessment of whether
“extraordinary and compelling” reasons warrant a sentence reduction in light of the
First Step Act’s amendments. United States v. Beck, 2019 WL 2716505, at *5-6
(M.D.N.C. June 28, 2019); see also Ebbers, 2020 WL 91399, at *4. Indeed, “the

district courts themselves have the power to determine what constitute extraordinary

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and compelling reasons for compassionate release.” United States v. Young, 2020 WL
1047815, at *6 (M.D. Tenn. Mar. 4, 2020) (collecting cases).

Thomas Has Exhausted Administrative Remedies

A motion by an inmate can be filed in the district court after (1) the inmate has
made the request to the Warden, and (2) either the request was denied or 30 days have
lapsed from the receipt of the request, whichever is sooner. First Step Act of 2018,
section 803(b), Pub. L. No. 115-391, 132 Stat. 5194, 5239 (2018).

Thomas filed a Motion for Compassionate Release to the FMC Carswell,
Warden but has not received a response yet. Because 30 days have lapsed and the
BOP failed to file a motion on Thomas’ behalf, exhaustion of administrative remedies
is not an issue in this case. See 18 U.S.C. § 3582(c)(1)(A).

Thomas urges this Court to consider the following cases:

1. United States v. Kataev, 2020 WL 1862685 (S.D.N.Y. Apr. 14, 2020)

° 51-year-old defendant suffering from “chronic sinusitis” and

whose wife is disabled such that she cannot care for their
10-year-old child

° “Defendant’s unique health and family circumstances together,

and in light of the COVID-19 public health crisis, constitute
‘extraordinary and compelling reasons’ to modify Defendant’s

 

sentence”

° Release date February 2021, Otisville, 36-month sentence

° Government does not object

be United States v. Britton, 2020 WL 4586799, at *1 (S.D.N.Y. Aug. 10,
2020)

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° 60-month custodial sentence

° Diabetes, high blood pressure, 54 years old

° 3553 — “The Court has considered each of the section 3553(a) factors

and finds that the circumstances of the commission of Mr. Britton’s
crimes, the steps that he has taken to address his control of his addiction
and prepare himself for reentry, the disincentive his own medical
condition gives him to engaging in behavior that could put him at risk
of return to confinement, and his family circumstances in which he is
taking on responsibility for the care of his medically vulnerable wife,
combined with the harsh and stressful conditions under which he has
been confined during the pandemic, are sufficient to address personal
deterrence.”

Here, although those factors fully support the substantial sentence originally
imposed, in the current context of James Thomas’ incurable medical condition,
Thomas’ family believes compassionate release is appropriate at this time so Thomas
can live with James as his primary caregiver and attend to all of his medical needs.

It is essential to also note that since Thomas’ incarceration began, she has taken
numerous steps to attempt to improve herself in “post-conviction rehabilitation.”
Based on her husband’s medical condition and the world’s take on the global
pandemic right now, and good time credits she has served, Thomas have met all the
requirements for compassionate release.

If granted compassionate release, Thomas will reside with her husband, James

L. Thomas— where she will act as her husband’s sole caregiver. Further information

about these release plans upon request.

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V. CONCLUSION
For the above and foregoing reasons, Thomas prays this Court would consider
her Motion for Compassionate Release/Reduction in Sentence pursuant to 18 U.S.C.
§ 3582(c)(1)(A) and First Step Act of 2018, based upon the “extraordinary and
compelling reasons” and release her to home confinement or hold a hearing as soon
as possible.

Respectfully submitted,

Dated: August ¥ , 2021 Lb, Shs Jorn

NELDA MARIE THOMAS
REG. NO. 57060-177
FMC CARSWELL
FEDERAL MEDICAL CENTER
P.O. BOX 27137
FORT WORTH, TX 76127

\CERTIFICATE OF SERVICE

 

I hereby certify that on August 4, 2021, a true and correct copy of the above
and foregoing Motion for Compassionate Release/Reduction in Sentence Pursuant to
18 U.S.C. § 3582(c)(1)(A) and the First Step Act of 2018 was sent via U. S. Mail,
postage prepaid, Juanita Fielden, Assistant U.S. Attorney at U.S. Attorney’s Office,
341 Pine Street, Room 2101, Abilene, TX 79601.

~~

DA MARIE THOMAS

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P.O. BOX 27137
FORT WORTH, TX_ 76127
August ¥_, 2021

Ms. Karen Mitchell

Clerk of Court

U. S. District Court
Northern District of Texas
Abilene Division

341 Pine Street, Room 2008
Abilene, TX 79601

RE: Thomas v. United State
Crim No. 1:18-cr-00033-C-1

Dear Ms. Mitchell:

Enclosed please find and accept for filing Movant’s Motion for Compassionate
Release/Reduction in Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A) and the First
Step Act of 2018. Please submit this document to the Court.

Thank you for your assistance in this matter.

Sincerely,

NELDA MARIE THOMAS
Appearing Pro Se

Encl. as noted
 

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